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                               UNITED STATES DISTRICT COURT
14                            CENTRAL DISTRICT OF CALIFORNIA
15                                  WESTERN DIVISION
16   CHARLES ANTHONY HOLT,                            ) Case No. 2:20-cv-10422-JC
                                                      )
17           Plaintiff,                               )
                                                      )
18                  v.                                ) JUDGMENT OF REMAND
                                                      )
19                                                    )
     KILOLO KIJAKAZI, 1                               )
20                                                    )
     Commissioner of Social Security,                 )
21                                                    )
             Defendant.                               )
22
23           The Court having approved the parties’ Stipulation to Voluntary Remand
24   Pursuant to Sentence 4 of 42 U.S.C. § 405(g) and to Entry of Judgment (“Stipulation
25   of Remand”) lodged concurrent with the lodging of the within Judgment of Remand.
26   ///
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28
     1
        Kilolo Kijakazi, the Acting Commissioner of the Social Security Administration, is substituted in
     as the Defendant pursuant to Rule 25(d) of the Federal Rules of Civil Procedure.
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 1         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the above-
 2   captioned action is remanded to the Commissioner of Social Security for further
 3   proceedings consistent with the Stipulation of Remand.
 4
 5   DATED: October 20, 2021
 6                                                     /s/
                                          HONORABLE JACQUELINE CHOOLJIAN
 7                                        UNITED STATES MAGISTRATE JUDGE
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